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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                              Case No. __:18-cv-__________
                           District Judge: __________________
                         Magistrate Judge:____________________
     __________________________________________________/

     CDS Gulfstream, LLC
     individually and as a class on behalf of
     other similarly situated individuals and business entities
     that were induced by Defendant Andrew Greenbaum
     a/k/a Avi Greenbaum and Defendant Steve Michael
     a/k/a Steven Michael into investing monies in entities
     for real estate investments from and after March 27, 2014.

                           Plaintiff,
            - against -

     Andrew Greenbaum a/k/a Avi Greenbaum,                              COMPLAINT
     Steve Michael a/k/a Steven Michael
     HH Gulfstream LLC and
     Hudson Holdings LLC

                       Defendants.
     __________________________________________________/


                                            COMPLAINT

            Plaintiff by their attorneys, ROSEN LAW LLC for its complaint in this action, alleges

     as follows:

                                   JURISDICTION AND VENUE

                    1.     That the United States District Court for the Southern District of

     Florida has jurisdiction over the parties, pursuant to (i) Title 28 of the United States

     Code §1331 – Federal Question and (ii) Title 18 of the United States Code §1964(c), for

     violation of Title 18 of the United States Code §1961 – Racketeering Influenced Corrupt

     Organizations Act.     Plaintiff also seeks relief pursuant to Florida state law under




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     supplemental jurisdiction pursuant to Title 28 of the United States Code §1367. Venue

     is proper pursuant to Title 29 of the United States Code §1391(b)(1) and Title 29 of the

     United States Code §1391(b)(2) as Defendants reside in Palm Beach County, Florida

     within the jurisdiction of the United States District Court for the Southern District of

     Florida and the events complained of herein occurred in the jurisdiction of the United

     States District Court for the Southern District of Florida.

                     2.      Plaintiff demands a jury trial.

                     3.      Plaintiff CDS Gulfstream, LLC is a Florida limited liability company

     with its principal place of business located in Palm Beach County, Florida.

                     4.      Plaintiff CDS Gulfstream, LLC is a legal entity capable of holding a

     legal interest in property.

                     5.      CDS Gulfstream, LLC commences this action individually and

     collectively and/or as a class on behalf of other similarly situated individuals and business

     entities that were induced by Defendant Andrew Greenbaum a/k/a Avi Greenbaum and

     Defendant Steve Michael a/k/a Steven Michael into investing monies in entities for real

     estate investments from and after March 27, 2014 and who lost monies.

                     6.      Defendant Andrew Greenbaum a/k/a Avi Greenbaum is a resident of

     Palm Beach County, Florida, residing at 7618 Stockton Terrace, Boca Raton, Florida

     (“Defendant Andrew Greenbaum”).

                     7.      Defendant Andrew Greenbaum is a culpable person and is able to hold

     a legal or beneficial interest in property.

                     8.      Defendant Steve Michael a/k/a Steven Michael is a resident of Palm

     Beach County, Florida (“Defendant Steve Michael”).


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                     9.      Defendant Steve Michael is a culpable person and is able to hold a

     legal or beneficial interest in property.

                     10.     Defendant HH Gulfstream LLC is a Florida limited liability company

     and is a culpable person and is able to hold a legal or beneficial interest in property.

                     11.     Defendant Hudson Holdings LLC is a Florida limited liability

     company and is a culpable person and is able to hold a legal or beneficial interest in property.

                     12.     The activity of the racketeering enterprise as set forth in this complaint

     and the predicate acts described in this complaint affect interstate commerce.

                     13.     Defendant Andrew Greenbaum and Defendant Steve Michael are each

     a culpable person who conducted an enterprise affecting interstate commerce through a

     pattern of racketeering activity.

                     14.     Defendant Andrew Greenbaum and Defendant Steve Michael have

     demonstrated a pattern of racketeering of at least two acts of racketeering activity all of which

     have occurred within the ten years of each other.

                     15.     Upon information and belief, Defendant Andrew Greenbaum used a

     variety of legal entities to commit the fraudulent activities alleged herein and in order to

     further the pattern of racketeering activity as alleged herein, including but not limited to

     Defendant HH Gulfstream LLC, Defendant Hudson Holdings LLC, Hudson Real Estate

     Advisors, LLC, HH Linton Towers Two, LLC, Hudson 52 West Atlantic, LLC, HH 52 West

     Atlantic, LLC, HH Louisville Starks LLC, HH Louisville I Real Estate Acquisition Group,

     LLC, Hudson Acquisition Group LLC, Hudson Real Estate Acquisition Group LLC, Hudson

     Cleveland Huntington LLC, Hudson Orlando Real Estate Manager LLC, Hudson Louisville

     Republic LLC, Hudson Cincinnati Textile LLC, Hudson 1500 St. Louis LLC, Hudson KC


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     Mark Twain LLC, Hudson Family Office LLC, Hudson St. Louis Railway LLC, Hudson

     Healthcare LLC, Hudson Capital Partners LLC, Triple Double Investments LLC, GFT

     Recovery LLC, Graphite Partners LLC, Palladium Partners LLC, ROM Ventures LLC, G &

     G Waterford Management LLC, G & G Waterford LLC, HC Walden Arbor Properties LLC,

     HC Walden Arbor Holdings LLC, Spin on Media LLC, Stage Capital LLC, HP Andre Way

     LLC and Hudson Andre Way LLC.

                    16.     Upon information and belief, Defendant Steve Michael used a variety

     of legal entities to commit the fraudulent activities alleged herein and in order to further the

     pattern of racketeering activity as alleged herein, including but not limited to Defendant HH

     Gulfstream LLC, Defendant Hudson Holdings LLC, Downtown Delray Development II,

     LLC, Hudson Real Estate Advisors, LLC, HH Boynton LLC, MGM Delray Management

     LLC, Hudson Delray LLC, HH Delray LLC, Hudson Sunday House LLC, Hudson Sunday

     House Operations LLC, Hudson Real Estate Manager, LLC, Hudson Opportunity Fund I,

     LLC, Hudson Opportunity Fund I Advisor, LLC, Hudson Opportunity Fund I IM, LLC,

     Hudson Orlando Real Estate Managers LLC, Hudson St. Louis Railway LLC, Hudson Andre

     Way LLC, Stonehenge Diversified III LLC, Stonehenge Services LLC, Stonehenge Emerging

     Manager Group LLC and 20 West Atlantic LLC.

                    17.     HH Gulfstream Land Holdings, LLC is the owner of real property

     located at 1 Lake Avenue, 11 Lake Avenue, 12 S. Lakeside Drive, 14 S. Lakeside Drive, 20

     S. Lakeside Drive, 22 S. Lakeside Drive and 24 S. Lakeside Drive, Lake Worth, Palm Beach

     County, Florida known as the Gulfstream Hotel (the “Gulfstream Hotel”).

                    18.     The Gulfstream Hotel is a property which was listed on the National

     Register of Historic Places by the Untied States Department of the Interior.


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                    19.    HH Gulfstream Land Holdings, LLC acquired the Real Property on

     May 7, 2014 by special warranty deed recorded in the Official Records of Palm Beach

     County in Book #26793, Page 1340, for the sum of $7,225,000.

                    20.    HH Gulfstream Land Holdings, LLC was formed as a Delaware

     limited liability company on January 23, 2014.

                    21.    HH Gulfstream Land Holdings, LLC filed an application by a foreign

     limited liability company for authorization to transact business in Florida on May 8, 2014 by

     a filing made with the Florida Secretary of State as filing number M14000003163.

                    22.    The sole member of HH Gulfstream Land Holdings, LLC is HHG

     Land Holdings, LLC, a Delaware limited liablity company.

                    23.    The members of HHG Land Holdings, LLC, a Delaware limited

     liablity company are Plaintiff, CDS Gulfstream, LLC and Defendant HH Gulfstream LLC.

                    24.    On May 20, 2014, an application by a foreign limited liability company

     to file an amendment to the certificate of authority to transact business in Florida was filed

     with the Florida Secretary of State as filing number M14000003163 adding HHG Land

     Holdings LLC as a member and removing HH Gulfstream LLC as a member of HH

     Gulfstream Land Holdings, LLC.

                    25.    HHG Land Holdings LLC is a member of HH Gulfstream Land

     Holdings, LLC.

                    26.    HHG Land Holdings LLC is a Delaware limited liability company

     formed on May 9, 2014.




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                    27.     The sole member of HH Gulfstream Land Holdings, LLC is HHG

     Land Holdings LLC, a Delaware limited liability company and CDS Gulfstream, LLC, a

     Florida limited liability company.

                    28.     HH Gulfstream LLC was formed as a Florida limited liability company

     on January 27, 2014 by filing of the Electronic Articles of Organization in the Office of the

     Florida Secretary of State as file no. L14000014271.

                    29.     Between January 27, 2014 and October 31, 2016, the sole managing

     member of HH Gulfstream LLC was Hudson Lake Worth LLC.

                    30.     Hudson Holdings LLC was formed as a Florida limited liability

     company on March 15, 2006 by filing of the Electronic Articles of Organization in the Office

     of the Florida Secretary of State as file no. L06000027691.

                    31.     When Hudson Holdings LLC was formed as a Florida limited liability,

     the managing members were Defendant Andrew Greenbaum and Neil Greenbaum.

                    32.     On May 7, 2008, Defendant Andrew Greenbaum and Neil Greenbaum

     were replaced as managing members of Hudson Holdings, LLC with Triple Double Limited

     Partnership and Mayfield Investment Limited Partnership as the managing members of

     Hudson Holdings, LLC, pursuant to the filed 2008 Limited Liability Company Annual Report

     filed in the Office of the Florida Secretary of State as file no. L06000027691.

                    33.     As of March 9, 2017, according to the records filed in the Office of the

     Florida Secretary of State as file no. L06000027691 in the 2017 Florida Limited Liability

     Company Annual Report, the sole manager of Defendant Hudson Holdings, LLC is Triple

     Double Limited Partnership and the registered agent of Defendant Hudson Holdings, LLC is

     Defendant Andrew Greenbaum.


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                    34.    Upon information and belief, the general partner of Triple Double

     Limited Partnership is Defendant Andrew Greenbaum.

                    35.    On October 31, 2016, Hudson Lake Worth LLC was removed as the

     managing member of HH Gulfstream LLC and Hudson Real Estate Manager, LLC was added

     as the managing member of HH Gulfstream LLC by a filing made in the Office of the Florida

     Secretary of State as file no. L14000014271.

                    36.    Hudson Real Estate Manager, LLC was formed as a Florida limited

     liability company on January 15, 2015 by filing of the Electronic Articles of Organization in

     the Office of the Florida Secretary of State as file no. L15000008995.

                    37.    Between January 15, 2015 and the present date, the Authorized

     Representatives of Hudson Real Estate Manager, LLC were Defendant Andrew Greenbaum

     and Defendant Steven Michael.

                    38.    CDS Gulfstream, LLC was formed as a Florida limited liability

     company on May 9, 2014 by filing of the Electronic Articles of Organization in the Office of

     the Florida Secretary of State as file no. L14000075740.

                    39.    Between May 9, 2014 and the present date, the sole managing member

     of CDS Gulfstream, LLC was CDS International Realty LLC.

                    40.    CDS International Realty LLC was formed as a Florida limited liability

     company on December 7, 2000 by filing of the Electronic Articles of Organization in the

     Office of the Florida Secretary of State as file no. L00000015082.

                    41.    The managers of CDS International Realty LLC are William Milmoe

     and Karen Vermilyea, affiliated with Plaintiff.




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                    42.     CDS Gulfstream, LLC, owns 51% of the membership interests / units

     in HH Gulfstream Land Holdings, LLC.

                    43.     HH Gulfstream LLC owns 49% of the membership interests / units in

     HH Gulfstream Land Holdings, LLC.

                    44.     In or about April 2014, representatives of Plaintiff, including William

     Milmoe as well as Carl DeSantis met with Defendant Steve Michael in Palm Beach County,

     Florida, wherein Defendant Steve Michael presented an offer to Plaintiff’s representatives for

     Plaintiff to invest monies to acquire an interest in the Real Property.

                    45.     The meetings which occurred between April 1, 2014 and May 13, 2014

     by William Milmoe, as a representative of Plaintiff, with Defendant Steve Michael occurred

     in Lake Worth, Florida and Boca Raton, Florida.

                    46.     The meetings which occurred between April 1, 2014 and May 13, 2014

     by William Milmoe, as a representative of Plaintiff, with Defendant Andrew Greenbaum

     occurred in Lake Worth, Florida and Boca Raton, Florida.

                    47.     The meetings which occurred between April 1, 2014 and May 13, 2014

     by Carl Desantis, as a representative of Plaintiff, with Defendant Steve Michael occurred in

     Boca Raton, Florida.

                    48.     The meetings which occurred between April 1, 2014 and May 13, 2014

     by Carl Desantis, as a representative of Plaintiff, with Defendant Andrew Greenbaum

     occurred in Boca Raton, Florida.

                    49.     The purpose of the meetings and communications between April 1,

     2014 and May 13, 2014 between William Milmoe and Defendant Andrew Greenbaum and

     Defendant Steve Michael was for Defendant Andrew Greenbaum and Defendant Steve


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     Michael to convince William Milmoe to have Carl Desantis, or an entity owned by or

     affiliated with Carl Desantis to invest in the Real Property.

                    50.     The purpose of the meetings and communications between April 1,

     2014 and May 13, 2014 between Carl Desantis and Defendant Andrew Greenbaum and

     Defendant Steve Michael was for Defendant Andrew Greenbaum and Defendant Steve

     Michael to convince Carl Desantis, or an entity owned by or affiliated with Carl Desantis to

     invest in the Real Property.

                    51.     Between April 1, 2014 and May 13, 2014, Defendant Steve Michael

     and Defendant Andrew Greenbaum induced Plaintiffs and its officers and agents to invest in

     the Real Property using email communications.

                    52.     Between April 1, 2014 and May 13, 2014, Defendant Steve Michael

     and Defendant Andrew Greenbaum induced Plaintiffs and its officers and agents to invest in

     the Real Property using telephonic communications.

                    53.     Between April 1, 2014 and May 13, 2014, Defendant Steve Michael

     and Defendant Andrew Greenbaum induced Plaintiffs and its officers and agents to invest in

     the Real Property using the United States Mail.

                    54.     Between April 1, 2014 and May 13, 2014, representatives of Plaintiff,

     including William Milmoe as well as Carl DeSantis, met on several occasions with

     Defendant Steve Michael and Defendant Andrew Greenbaum in Palm Beach County, Florida.

                    55.     Defendant Steve Michael and Defendant Andrew Greenbaum told

     Plaintiff, including William Milmoe and Carl DeSantis, that they needed approximately

     $7,500,000 to purchase the mortgage note on the Real Property from Great Oak Pool I LLC,

     which owned the mortgage note on the Real Property.


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                     56.   On May 9, 2014, HH Gulfstream Lender, LLC, a Delaware limited

     liability company, acquired the mortgage and mortgage note for the Real Property from Great

     Oak Pool I LLC, pursuant to an assignment of mortgage recorded in the Official Records of

     Palm Beach County in Book #26793, Page 1317.

                     57.   On May 13, 2014, HH Gulfstream Lender, LLC, provided a

     satisfaction of mortgage for the mortgage recorded in the Official Records of Palm Beach

     County in Book #26793, Page 1317 and such satisfaction of mortgage was recorded in the

     Official Records of Palm Beach County in Book #26793, Page 1376.

                     BASIS FOR RICO PREDICATE ACTS AND
                     CLASS ACTION UNDER FED.R.CIV.PRO 23
                               PARTICIPATION
                     58.   A past, present, and likelihood of a future pattern of fraudulent conduct

     by Defendant Andrew Greenbaum and Defendant Steve Michael is clear and evident as set

     forth herein.

                     59.   The class of individuals and business entities that have been defraued

     by Defendant Andrew Greenbaum and Defendant Steve Michael are so numerous that joinder

     of all members is impracticable, warranting a class action under Fed.R.Civ.Pro Rule 23.

                     60.   There are questions of law and fact common to all of the individuals

     and business entities that have been defraued by Defendant Andrew Greenbaum and

     Defendant Steve Michael, warranting a class action under Fed.R.Civ.Pro Rule 23.

                     61.   The claims of Plaintiff are typical of the claims of the class warranting

     a class action under Fed.R.Civ.Pro Rule 23.




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                    62.    Plaintiff will fairly and adequately protect the interests of all of the

     individuals and business entities that have been defraued by Defendant Andrew Greenbaum

     and Defendant Steve Michael.

                    63.    Defendant Andrew Greenbaum and Defendant Steve Michael are

     direct and/or indirect principals of and/or agents, employees, members and officers of

     Defendant Hudson Holdings LLC, a Florida limited liability company.

                    64.    Upon information and belief, Defendant Hudson Holdings LLC is the

     is the main entity owned by Defendant Andrew Greenbaum and Defendant Steve Michael,

     which is used to solicit investors to make investments.

                    65.    Upon information and belief, Defendant Hudson Holdings LLC,

     Defendant HH Gulfstream LLC, Defendant Andrew Greenbaum and Defendant Steve

     Michael have sold securities and raised monies from individuals without filing proper

     documents with the United States Securities and Exhange Commission.

                    66.    In the past several years, Defendants have solicted investors to make

     investments in real estate ventures, which resulted in the continuous pattern of defrauding of

     such investors, where investors gave money to entities created by Defendant Andrew

     Greenbaum and Defendant Steve Michael, and such entities failed to repay the investors and

     failed to perform as promised to the investors.

                    67.    On or about April 8, 2015, Defendant Andrew Greenbaum and

     Defendant Steve Michael filed a Form D with the United States Securities and Exchange

     Commission, which is a Notice of Exempt Offering of Securities for Hudson Opportunity

     Fund I LLC as the issuer of Pooled Investment Fund Interests, as filed with the United States

     Securities and Exchange Commission under CIK # 0001262990.


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                    68.    Defendant Andrew Greenbaum and Defendant Steve Michael sought

     to raise the sum of $75,000,000 for the Hudson Opportunity Fund I LLC.

                    69.    Defendant Andrew Greenbaum and Defendant Steve Michael failed to

     register the sale of limited liability company interests with the United States Securities and

     Exchange Commission for the sale of the limited liability company interests in HH

     Gulfstream Land Holdings LLC to Plaintiff.

                    70.    Defendant Andrew Greenbaum and Defendant Steve Michael failed to

     register the sale of limited liability company interests with the United States Securities and

     Exchange Commission for the sale of the limited liability company interests in any limited

     liability company or partnership to any of the plaintiffs in lawsuits set forth below in this

     complaint.

                    71.    According to public records, on August 24, 2016, Dharma Properties,

     Inc. and Thomas E. Worrell, Jr. filed a lawsuit against Hudson Holdings LLC, Hudson

     Sundy House Operations, LLC, and Defendant Steve Michael for, inter alia, real estate

     swindle and fraud in the inducement in the Circuit Court of the 15th Judicial Circuit in and

     for Palm Beach County, Florida under Case No. 502016-CA-009637-XXXX-MB which

     conduct by Defendant Steve Michael serves as a predicate act herein for mail fraud and wire

     fraud.

                    72.    According to public records, on June 28, 2017, David Correia, Lev

     Parnas and Newco Partners filed a lawsuit against Defendant Andrew Greenbaum, Defendant

     Steve Michael, and Hudson Holdings LLC for, inter alia, fraud in the inducement, fraud

     against Andrew Greenbaum, Steven Michael and Hudson Holdings, LLC in the Circuit Court

     of the 15th Judicial Circuit in and for Palm Beach County, Florida under Case No. 502017-


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     CA-007304-XXXX-MB which conduct by Defendant Andrew Greenbaum and Defendant

     Steve Michael serves as a predicate act herein for mail fraud and wire fraud. In this action,

     Plaintiffs claim that Defendant Andrew Greenbaum and Defendant Steven Michael, inter alia,

     made false representations of the Plaintiffs in order for Hudson Holdings LLC to obtain a

     $10,000,000 loan from Plaintiffs.

                    73.     According to public records, on February 8, 2017, Terry V. Woods

     filed a lawsuit against Defendant Andrew Greenbaum and Hudson Orlando Acquisition

     Group, LLC for, inter alia, fraudulent misrepresentation, breach of promissory note, money

     lent, in the Circuit Court of the 15th Judicial Circuit in and for Palm Beach County, Florida

     under Case No. 502017-CA-001579-XXXX-MB which conduct by Defendant Andrew

     Greenbaum and Defendant Steve Michael serves as a predicate act herein for mail fraud and

     wire fraud. In this action, Plaintiffs claim that Defendant Andrew Greenbaum’s entity,

     Hudson Orlando Acquisition Group, LLC, inter alia, defaulted on a convertible promissory

     note in the amount of $500,000 for a loan from Plaintiff Terry V. Wood.

                    74.     According to public records, on March 2, 2017, Terry V. Woods filed

     a lawsuit against Defendant Steven Michael and Hudson Delray, LLC for, inter alia, fraud in

     the inducement, negligent misrepresentation, promissory estoppel, in the Circuit Court of the

     15th Judicial Circuit in and for Palm Beach County, Florida under Case No. 502017-CA-

     002506-XXXX-MB which conduct by Defendant Steve Michael serves as a predicate act

     herein for mail fraud and wire fraud.

                    75.     According to public records, on December 15, 2016, Linda Levy filed

     a lawsuit against Defendant Andrew Greenbaum, Defendant Steve Michael, et.al. for, inter

     alia, breach of promissory notes, foreclosure, imposition of a construction trust in the Circuit


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     Court of the 15th Judicial Circuit in and for Palm Beach County, Florida under Case No.

     502016-CA-013968-XXXX-MB which conduct by Defendant Andrew Greenbaum and

     Defendant Steve Michael serves as a predicate act herein for mail fraud and wire fraud. In

     this action, Linda Levy loaned money to Defendant Andrew Greenbaum, Defendant Steve

     Michael, et.al. and was not repaid the loaned funds.

                    76.      According to public records, on August 30, 2017, West Point

     Enterprises LLC filed a lawsuit against Hudson Holdings LLC for, inter alia, upon

     information and belief, fraud, in the Jackson Circuit Court in Jackson, Missouri under Case

     No. 1716-CV-21335 which conduct by Defendant Steve Michael serves as a predicate act

     herein for mail fraud and wire fraud.

                    77.      According to public records, on April 25, 2017, Madison Title Agency

     LLC filed a lawsuit against Hudson Holdings LLC for, inter alia, upon information and

     belief, fraud, in the Jackson Circuit Court in Jackson, Missouri under Case No. 1716-CV-

     09239 which conduct by Defendant Steve Michael serves as a predicate act herein for mail

     fraud and wire fraud.

                    78.      According to public records, on April 21, 2017, 1331 St. Louis LLC

     filed a lawsuit against Hudson Holdings LLC for, inter alia, upon information and belief,

     fraud, in the Jackson Circuit Court in Jackson, Missouri under Case No. 1716-CV-09093

     which conduct by Defendant Steve Michael serves as a predicate act herein for mail fraud and

     wire fraud.

                    79.      According to public records, on February 13, 2018, Andre Golubovic,

     et.al., filed a lawsuit against Hudson Holdings LLC, et.al. for, inter alia, declaratory relief,

     slander of title, breach of lease, trespass, conversion, breach of contract in the Circuit Court


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     of the 15th Judicial Circuit in and for Palm Beach County, Florida under Case No. 502015-

     CA-001564-XXXX-MBAE which conduct by Defendant Steve Michael and Defendant

     Andrew Greenbaum serves as a predicate act herein for mail fraud and wire fraud.

                    80.     According to public records, in 2017, St. Louis LLC filed a lawsuit

     against Hudson Holdings LLC, managed by Defendant Andrew Greenbaum and Defendant

     Steve Michael in Jackson County Missouri Circuit Court under case no. 1716CV-09093, in

     which, upon information and belief, the Plaintiff alleges that they were defrauded by Hudson

     Holdings LLC, which conduct by Defendant Andrew Greenbaum and Defendant Steve

     Michael serves as a predicate act herein for mail fraud and wire fraud.

                    81.     According to public records, in 2017, Brian Verbenec filed a lawsuit

     against Hudson Holdings LLC, managed by Defendant Andrew Greenbaum and Defendant

     Steve Michael in Jackson County Missouri Circuit Court under case no. 1716CV-09239, in

     which, upon information and belief, the Plaintiff alleges that they were defrauded, which

     conduct by Defendant Andrew Greenbaum and Defendant Steve Michael serves as a

     predicate act herein for mail fraud and wire fraud.

                    82.     According to public records, in 2017, Stephen L. Price filed a lawsuit

     against Hudson Holdings LLC, managed by Defendant Andrew Greenbaum and Defendant

     Steve Michael in Jackson County Missouri Circuit Court under case no. 1716CV-21335, in

     which, upon information and belief, the Plaintiff alleges that they were defrauded, which

     conduct by Defendant Andrew Greenbaum and Defendant Steve Michael serves as a

     predicate act herein for mail fraud and wire fraud.

                    83.     According to public records, in 2018, JRA, Inc. d/b/a JRA Architects

     filed a lawsuit against Hudson Holdings LLC, et.al., managed by Defendant Andrew


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     Greenbaum and Defendant Steve Michael in Jefferson County Kentucky State Court under

     case no. 18-CI-000731, in which, upon information and belief, the Plaintiff alleges that they

     were defrauded, which conduct by Defendant Andrew Greenbaum and Defendant Steve

     Michael serves as a predicate act herein for mail fraud and wire fraud.

                    84.     According to public records, in 2016, Murphy & Associates PLC filed

     a lawsuit against HH Louisville Starks LP, et.al., managed by Defendant Andrew Greenbaum

     and Defendant Steve Michael in Jefferson County Kentucky State Court under case no. 16-

     CI-002787, in which, upon information and belief, the Plaintiff alleges that they were

     defrauded, which conduct by Defendant Andrew Greenbaum and Defendant Steve Michael

     serves as a predicate act herein for mail fraud and wire fraud.

                    85.     According to public records, on in 2010, First American Title

     Insurance Company filed a lawsuit against Andrew Greenbaum in the Circuit Court for the

     Fourth Judicial Circuit in and for Duval County, Florida under case no. 16-2010-CA-013638,

     in which the Plaintiff alleges that Andrew Greenbaum breached an indemnity agreement in

     which a judgment in the amount of $263,467.08 was obtained against Defendant Andrew

     Greenbaum and serves as a predicate act herein for mail fraud and wire fraud, which basis

     was Defendant Andrew Greenbaum and/or an entity he was affiliated with, including Hudson

     Capital, LLC failed to pay Powers Designs for architectual services.

                    86.     There are numerous lawsuits filed by numerous plaintiffs throughout

     the United States against Defendant Andrew Greenbaum, Defendant Steve Michael and/or

     their entities, including but not limited to Hudson Holdings, LLC, which show a pattern of

     fraudulent activity, a pattern of RICO predicates, and harm to the general public, which has

     been ongoing and which is still occurring.


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                    87.    Upon information and belief, there are many individuals and entities

     not listed in this complaint whom and which have been defrauded by the actions of

     Defendant Andrew Greenbaum and Defendant Steve Michael.

                    88.    Among other claims against Defendants, in the instant case, it is

     alleged that Plaintiff has been damaged because Defendant Andrew Greenbaum caused HH

     Gulfstream Land Holdings LLC to have a lien filed against its real property because

     Defendant Andrew Greenbaum, Defendant Steve Michael and Defendant HH Gulfstream

     LLC failed to pay JRA Architects, Inc. for architectual services.

                    89.    Upon information and belief, funds belonging to Plaintiff were used by

     Defendant Andrew Greenbaum and Defendant Steve Michael by transferring approximately

     $500,000 from Plaintiff’s funds in HH Gulfstream Land Holdings LLC, directly or indirectly

     to 11350 Manatee Terrace, LLC, a Florida limited liability company.

                    90.    On or about July 8, 2015, 11350 Manatee Terrace, LLC acquired a

     house located at 11350 Manatee Terrace, Lake Worth, Florida (the “House”) for the sum of

     $575,000.00 pursuant to a warranty deed recorded on July 13, 2015 in the Office of the Palm

     Beach County Clerk in Book 27664, page 1821.

                    91.    After acquring the House, 11350 Manatee Terrace, LLC transferrred

     the House on or about April 24, 2017 to J Rose Consulting LLC, a Florida limited liability

     company for the sum of $475,000 pursuant to a warranty deed recorded on May 1, 2017 in

     the Office of the Palm Beach County Clerk in Book 29051, page 1140.

                    92.    On April 24, 2017, Hurricanes One LLC, a Florida limited liability

     company provided a mortgage loan in the amount of $500,000 to J Rose Consulting LLC for

     the House.


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                     93.     The manager of J Rose Consulting LLC is Jennifer Hebrock.

                     94.     Jennifer Hebrock was or is Director of Special Projects for Defendant

     Hudson Holdings LLC.

                     95.     Defendant Andrew Greenbaum and Defendant Steve Michael

     attempted to conceal the use of Plaintiff’s funds to aquire the House and transfer the House to

     Jennifer Hebrock.

                     96.     Upon information and belief, funds belonging to Plaintiff were used by

     Defendant Andrew Greenbaum and Defendant Steve Michael to provide the House and a

     loan for the House to Jennifer Hebrock through 11350 Manatee Terrace, LLC and J Rose

     Consulting LLC.

                                             COUNT I - FRAUD

                     97.     The allegations set forth in paragraphs “1” through “96” above are re-

     alleged as if fully set forth herein.

                     98.     Defendant Steve Michael and Defendant Andrew Greenbaum told

     Plaintiff, including William Milmoe as well as Carl DeSantis, that they had a deal to buy the

     mortgage note on the Real Property and obtain ownership of the Real Property for

     approximately $7,500,000, and that it was a great deal because the Real Property was

     purchased from the then owner, CSC Lake Worth Limited Partnership for approximately

     $13,000,000.00, and the mortgage on the Real Property provided by United Community

     Bank, Inc. to CSC Lake Worth Limited Partnership was given on or about July 14, 2005 in

     the amount of $16,678,635.00, as recorded in the Official Records of Palm Beach County in

     Book #18916, Page 380.




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                     99.     Defendant Steve Michael and Defendant Andrew Greenbaum told

     Plaintiff, including William Milmoe as well as Carl DeSantis, that they only needed

     approximately $1,000,000 from Plaintiff and for Plaintiff to guaranty a bank loan in the

     amount of approximately $5,000,000.

                     100.    Defendant Steve Michael and Defendant Andrew Greenbaum told

     Plaintiff, including William Milmoe as well as Carl DeSantis, that they were getting a Real

     Property worth approximately $16,000,000 for only an approximate $1,000,000 investment

     by Plaintiff’s associates and affiliates and an approximate $1,000,000 investment by

     Defendant Steve Michael and Defendant Andrew Greenbaum and their entity and/or entities,

     plus for Plaintiff and/or its associates and/or affiliates to guaranty a $5,000,000 loan.

                     101.    Defendant Steve Michael and Defendant Andrew Greenbaum told

     Plaintiff, including William Milmoe as well as Carl DeSantis, that Defendant Steve Michael

     and Defendant Andrew Greenbaum would renovate the Real Property and that Plaintiff

     would earn a great profit of over 100% on its $1,000,000 investment.

                     102.    Defendant Steve Michael and Defendant Andrew Greenbaum made

     representations to Plaintiff.

                     103.    Defendant Steve Michael and Defendant Andrew Greenbaum told

     Plaintiff, including William Milmoe as well as Carl DeSantis, that Defendant Steve Michael

     and Defendant Andrew Greenbaum and/or their entity would become a partner in the

     ownership of the Real Property and would pay 50% of the costs of operations of the

     ownership of the Real Property.

                     104.    Defendant Steve Michael and Defendant Andrew Greenbaum made

     numerous false statements of fact to Plaintiff.


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                    105.   Defendant Steve Michael and Defendant Andrew Greenbaum made

     numerous false statements of fact to Plaintiff including, but not limited to, the fact that

     Plaintiff would earn a great profit of over 100% on its $1,000,000 investment.

                    106.   Defendant Steve Michael and Defendant Andrew Greenbaum made

     numerous false statements of fact to Plaintiff, including but not limited to, the fact that

     Defendant Steve Michael and Defendant Andrew Greenbaum and/or their entities would pay

     50% of the monthly cash needs required by HH Gulfstream Land Holdings, LLC.

                    107.   Defendant Steve Michael and Defendant Andrew Greenbaum made

     numerous false statements of fact to Plaintiff including, but not limited to, the fact that

     Plaintiff and its affiliates would not be solely responsible for paying the bank loan which HH

     Gulfstream Land Holdings, LLC obtained for the Real Property.

                    108.   Defendant Steve Michael and Defendant Andrew Greenbaum knew

     that the statements that they made were false when they made the statement that Plaintiff

     would earn a great profit of over 100% on its $1,000,000 investment.

                    109.   Defendant Steve Michael and Defendant Andrew Greenbaum knew

     that the statements that they made were false when they made the statement that Defendant

     Steve Michael and Defendant Andrew Greenbaum and/or their entities would pay 50% of the

     monthly cash needs required by HH Gulfstream Land Holdings, LLC.

                    110.   Defendant Steve Michael and Defendant Andrew Greenbaum knew

     that the statements that they made were false when they made the statement that Plaintiff and

     its affiliates would not be solely responsible for paying the bank loan which HH Gulfstream

     Land Holdings, LLC obtained for the Real Property.




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                     111.    Defendant Steve Michael and Defendant Andrew Greenbaum made the

     statements that they made including, but not limited to the statement that Plaintiff would earn

     a great profit of over 100% on its $1,000,000 investment for the purpose of inducing Plaintiff

     and its affiliates and officers to act in reliance on the statements.

                     112.    Defendant Steve Michael and Defendant Andrew Greenbaum made the

     statements that they made including, but not limited to, the statement that Defendant Steve

     Michael and Defendant Andrew Greenbaum and/or their entities would pay 50% of the

     monthly cash needs required by HH Gulfstream Land Holdings, LLC for the purpose of

     inducing Plaintiff and its affiliates and officers to act in reliance on the statements.

                     113.    Defendant Steve Michael and Defendant Andrew Greenbaum made the

     statements that they made including, but not limited to, the statement that Plaintiff and its

     affiliates would not be solely responsible for paying the bank loan which HH Gulfstream

     Land Holdings, LLC obtained for the Real Property for the purpose of inducing Plaintiff and

     its affiliates and officers to act in reliance on the statements.

                     114.    Plaintiff acted and made the investment in HH Gulfstream Land

     Holdings, LLC based on the reliance on the correctness of the statements made by Defendant

     Steve Michael and Defendant Andrew Greenbaum, including but not limited to, the statement

     that Plaintiff would earn a great profit of over 100% on its $1,000,000 investment.

                     115.    Plaintiff acted and made the investment in HH Gulfstream Land

     Holdings, LLC based on the reliance on the correctness of the statements made by Defendant

     Steve Michael and Defendant Andrew Greenbaum, including, but not limited to the statement

     that Defendant Steve Michael and Defendant Andrew Greenbaum and/or their entities would

     pay 50% of the monthly cash needs required by HH Gulfstream Land Holdings, LLC.


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                    116.   Plaintiff acted and made the investment in HH Gulfstream Land

     Holdings, LLC based on the reliance on the correctness of the statements made by Defendant

     Steve Michael and Defendant Andrew Greenbaum, including, but not limited to, the

     statement that Plaintiff and its affiliates would not be solely responsible for paying the bank

     loan which HH Gulfstream Land Holdings, LLC obtained for the Real Property.

                    117.   Plaintiff has been damaged based on the statements made by

     Defendant Steve Michael and Defendant Andrew Greenbaum, including, but not limited to,

     the statement that Plaintiff would earn a great profit of over 100% on its $1,000,000

     investment.

                    118.   Plaintiff has been damaged based on statements made by Defendant

     Steve Michael and Defendant Andrew Greenbaum, including, but not limited to, the

     statement that Defendant Steve Michael and Defendant Andrew Greenbaum and/or their

     entities would pay 50% of the monthly cash needs required by HH Gulfstream Land

     Holdings, LLC.

                    119.   Plaintiff has been damaged based on the statements made by

     Defendant Steve Michael and Defendant Andrew Greenbaum, including, but not limited to

     the statement that Plaintiff and its affiliates would not be solely responsible for paying the

     bank loan which HH Gulfstream Land Holdings, LLC obtained for the Real Property.

                    120.   Defendant Andrew Greenbaum and Defendant Steve Michael caused

     Plaintiff to suffer damages due to the intentional fraudulent actions by Defendant Andrew

     Greenbaum and Defendant Steve Michael as set forth in this Complaint.




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                    121.    Defendant Andrew Greenbaum and Defendant Steve Michael had no

     intention of fulfilling the promises made to Plaintiff and to representatives of Plaintiff,

     including William Milmoe as well as Carl DeSantis.

                    122.    Between May 13, 2014 and the present date, Defendant Andrew

     Greenbaum and Defendant Steve Michael caused Defendant HH Gulfstream LLC to fail to

     fund capital calls to HHG Land Holdings LLC required for the operations of the Real

     Property.

                    123.    Between May 13, 2014 and the present date, Defendant Andrew

     Greenbaum and Defendant Steve Michael caused Defendant HH Gulfstream LLC to fail to

     fund capital calls to HHG Land Holdings LLC required for the operations of the Real

     Property requiring Plaintiff and/or its affiliates to expend monies for the operation of the Real

     Property as a result of Defendant Andrew Greenbaum and Defendant Steve Michael’s

     actions.

                    124.    Between May 13, 2014 and the present date, Defendant Andrew

     Greenbaum and Defendant Steve Michael never intended to personally pay, or have

     Defendant HH Gulfstream LLC pay capital calls and/or pay monies to HHG Land Holdings

     LLC required for the operations of the Real Property.

                    125.    When Defendant Andrew Greenbaum and Defendant Steve Michael

     induced Plaintiff through its representatives to acquire an interest in the Real Property,

     Defendant Andrew Greenbaum and Defendant Steve Michael never intended to personally, or

     have Defendant HH Gulfstream LLC pay monies to HHG Land Holdings LLC or to HH

     Gulfstream Land Holdings, LLC required for the operations of the Real Property.




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                    126.    When Defendant Andrew Greenbaum and Defendant Steve Michael

     induced Plaintiff through its representatives to acquire an interest in the Real Property,

     Defendant Andrew Greenbaum and Defendant Steve Michael never intended to use their own

     monies or the monies of Defendant HH Gulfstream LLC to operate the Real Property and

     instead relied upon Plaintiff and its agents, agents and prinicipals to pay all of the monies to

     operate the Real Property.

                    127.    When Defendant Andrew Greenbaum and Defendant Steve Michael

     induced Plaintiff through its representatives to acquire an interest in the Real Property,

     Defendant Andrew Greenbaum and Defendant Steve Michael demanded that their entity,

     Defendant HH Gulfstream LLC obtain 100% of all of the depreciation expenses available by

     ownership of HH Gulfstream Land Holdings, LLC and the Real Property.

                    128.    When Defendant Andrew Greenbaum and Defendant Steve Michael

     induced Plaintiff through its representatives to acquire an interest in the Real Property,

     Defendant Andrew Greenbaum and Defendant Steve Michael demanded that their entity,

     Defendant HH Gulfstream LLC obtain 100% of all of the depreciation expenses available by

     ownership of HH Gulfstream Land Holdings, LLC and the Real Property, because Defendant

     Andrew Greenbaum and Defendant Steve Michael had no intention of renovating the Real

     Property to achieve the ability to derive rental income, other income or to sell the Real

     Property and by obtaining 100% of the depreciation expenses, Defendants would benefit at

     the expense of Plaintiff.

                    129.    Defendant Andrew Greenbaum and Defendant Steve Michael

     demanded that Defendant HH Gulfstream LLC become the manager of HHG Land Holdings

     LLC in order so that Defendant Andrew Greenbaum and Defendant Steve Michael could


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     perpetrate the frauds and schemes upon Plaintiff and its members, agents, and

     representatives.

                    130.   Defendant HH Gulfstream LLC became the manager of HHG Land

     Holdings LLC, which allowed Defendant Andrew Greenbaum and Defendant Steve Michael

     to personally benefit from the Real Property, and allowed Defendant Andrew Greenbaum and

     Defendant Steve Michael to abuse and misuse their powers as direct and/or indirect officers

     of Defendant HH Gulfstream LLC to the detriment of Plaintiff.

                    131.   Defendant Andrew Greenbaum and Defendant Steve Michael

     permitted and caused Defendant HH Gulfstream LLC to breach its obligations as manager of

     HHG Land Holdings, LLC to Plaintiff.

                    132.   Between May 13, 2014 and the present date, Defendant Andrew

     Greenbaum and Defendant Steve Michael permitted and caused Defendant HH Gulfstream

     LLC to breach its obligations as manager of HHG Land Holdings, LLC to Plaintiff by the

     failure of Defendant HH Gulfstream LLC to deposit all funds of HHG Land Holdings, LLC

     in a bank account of HHG Land Holdings, LLC.

                    133.   Between May 13, 2014 and the present date, Defendant Andrew

     Greenbaum and Defendant Steve Michael permitted and caused Defendant HH Gulfstream

     LLC to breach its obligations as manager of HHG Land Holdings, LLC to Plaintiff by the

     failure of Defendant HH Gulfstream LLC to maintain complete and accurate records of all

     assets owned by HHG Land Holdings, LLC and maintain complete and accurate books of

     account of HHG Land Holdings, LLC.

                    134.   Between May 13, 2014 and the present date, Defendant Andrew

     Greenbaum and Defendant Steve Michael permitted and caused Defendant HH Gulfstream


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     LLC to breach its obligations as manager of HHG Land Holdings, LLC to Plaintiff by the

     failure of Defendant HH Gulfstream LLC to prepare an annual operating plan and budget for

     each calendar year from 2015 to date.

                   135.    Between May 13, 2014 and the present date, Defendant Andrew

     Greenbaum and Defendant Steve Michael permitted and caused Defendant HH Gulfstream

     LLC to breach its obligations as manager of HHG Land Holdings, LLC to Plaintiff by the

     failure of Defendant HH Gulfstream LLC to obtain funds to satisfy loans which HHG Land

     Holdings, LLC owed to Florida Community Bank, N.A. pursuant to the mortgage recorded

     in the Official Records of Palm Beach County in Book #26793, Page 1346 on May 15, 2014

                   136.    Between May 13, 2014 and the present date, Defendant Andrew

     Greenbaum and Defendant Steve Michael permitted and caused Defendant HH Gulfstream

     LLC to breach its obligations as manager of HHG Land Holdings, LLC to Plaintiff by the

     failure of Defendant HH Gulfstream LLC to extend the mortgage loan that HHG Land

     Holdings, LLC owed to Florida Community Bank, N.A. pursuant to the mortgage recorded in

     the Official Records of Palm Beach County in Book #26793, Page 1346 on May 15, 2014.

                   137.    Between May 13, 2014 and the present date, Defendant Andrew

     Greenbaum and Defendant Steve Michael took personal property that was owned by HHG

     Land Holdings, LLC for their own personal use without authority and without the consent of

     Plaintiff or Florida Community Bank, N.A.

                   138.    Between May 13, 2014 and the present date, Defendant Andrew

     Greenbaum and Defendant Steve Michael permitted and caused Defendant HH Gulfstream

     LLC to breach the terms of the operating agreement of HHG Land Holdings, LLC signed by

     Plaintiff and by Defendant HH Gulfstream LLC.


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                    139.   Between May 13, 2014 and the present date, Defendant Andrew

     Greenbaum and Defendant Steve Michael permitted and caused Defendant HH Gulfstream

     LLC to breach the terms of the operating agreement of HHG Land Holdings, LLC signed by

     Plaintiff and by Defendant HH Gulfstream LLC by allowing affiliates of Defendant HH

     Gulfstream LLC to engage in a business activity competing with HH Gulfstream Land

     Holdings LLC within a ten mile radius from the Real Property.

                    140.   Between May 13, 2014 and the present date, Defendant Andrew

     Greenbaum and Defendant Steve Michael permitted and caused Defendant HH Gulfstream

     LLC to breach the terms of the operating agreement of HHG Land Holdings, LLC signed by

     Plaintiff and by Defendant HH Gulfstream LLC by allowing Defendant HH Gulfstream LLC

     to fail to devote the time, effort, and skill necessary for the proper management of the

     business affairs of HHG Land Holdings, LLC, to the detriment of Plaintiff.

                    141.   Between May 13, 2014 and the present date, Defendant Andrew

     Greenbaum and Defendant Steve Michael permitted and caused Defendant HH Gulfstream

     LLC to fail to pay its obligations to pay monies for “carrying costs” for the operation of the

     Real Property, to the detriment of Plaintiff, who was required to pay the “carrying costs” for

     the operation of the Real Property in order to avoid defaulting in the mortgage obligations of

     HH Gulfstream Land Holdings LLC to Florida Community Bank, N.A. and others.

                    142.   JRA Architects, Inc. filed a Notice of Lis Pendens against HH

     Gulfstream Land Holdings, LLC recorded on July 28, 2017 in Official Records of Palm

     Beach County in Book #29246, Page 1567 due to alleged breaches by HH Gulfstream Land

     Holdings, LLC caused solely by Defendant Andrew Greenbaum and Defendant Steve

     Michael.


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                       143.   Plaintiff has been defrauded by Defendants as a result of use of wires,

     by communications via email and telephone.

                       144.   Plaintiff has been defrauded by Defendants as a result of use of the

     United States Postal Service, by communications with Plaintiff and its representative via

     United States Mail.

                       145.   There is a pattern of Defendants having engaged in a scheme to

     defraud real estate investors, in order to enrich themselves.

                       146.   There is a pattern of Defendant Andrew Greenbaum having engaged in

     a scheme to defraud real estate investors, in order to enrich himself.

                       147.   There is a pattern of Defendant Steve Michael having engaged in a

     scheme to defraud real estate investors, in order to enrich himself.

                       148.   Prior to Plaintiff investing in the Real Property, unknown to Plaintiff,

     Defendant Andrew Greenbaum had engaged in a scheme to defraud real estate investors, in

     order to enrich himself.

                       149.   Prior to Plaintiff investing in the Real Property, unknown to Plaintiff,

     Defendant Steve Michael had engaged in a scheme to defraud real estate investors, in order to

     enrich himself.

                       150.   This complaint details ongoing criminal activity by Defendants.

                       151.   The criminal activity are not isolated criminal acts, but are specific,

     ongoing and long term criminal activity by Defendants.

                       152.   Plaintiff’s business has been injured by the criminal activity of

     Defendants.




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                     153.    Plaintiff’s business has been injured by Plaintiff’s investment in HH

     Gulfstream Land Holdings, LLC, which has decreased in value, as the Real Property is in

     disrepair and Defendants have abandoned their responsibilites due to their fraudulent and

     criminal activity by taking Plaintiff’s monies under, inter alia, false pretenses.

                     154.    Plaintiff’s property, specifically, their interests in HH Gulfstream Land

     Holdings, LLC have been injured by the criminal activity of Defendants.

                     155.    Plaintiff’s investment in HH Gulfstream Land Holdings, LLC have

     been injured due to the decreased value of Plaintiff’s investment in HH Gulfstream Land

     Holdings, LLC, as the Real Property is in disrepair and Defendants have abandoned their

     responsibilites due to their fraudulent and criminal activity by taking Plaintiff’s monies

     under, inter alia, false pretenses.

                     156.    Plaintiff demonstrates in this complaint that the injuries sustained by

     Plaintiff and to Plaintiff’s business and property was by reason of the substantive violations

     by Defendants under Title 18 of the United States Code §1961, et.seq. – Racketeering

     Influenced Corrupt Organizations Act (“RICO”).

                     157.    Predicate acts under Title 18 of the United States Code §1961, et.seq.

     occurred within the jurisdiction of the United States District Court for the Southern District

     of Florida and in other areas of the United States of America as fully detailed in this

     complaint.

                     158.    A pattern of racketeering activity and indictable conduct as alleged in

     this complaint occurred within the jurisdiction of the United States District Court for the

     Southern District of Florida.




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                     159.       Plaintiff’s injuries under Title 18 of the United States Code §1961,

     et.seq. occurred in Palm Beach County, Florida within the United States by the actions of

     Defendants in making materially false statements and representations to Plaintiff and

     Plaintiff’s agents in order to induce and convince Plaintiff and Plaintiff’s agents to invest in

     HH Gulfstream Land Holdings, LLC.

                     160.       The connection between the RICO activity and the injuries sustained

     by Plaintiff are direct.

                     161.       The RICO activity engaged in by Defendants, as fully set forth in this

     complaint, include mail fraud and wire fraud in violation of the United States Code.

                     162.       Plaintiff sustained injuries solely as a result of the RICO activity

     perpetuated upon them by Defendants.

                     163.       Defendants injurious conduct by violating RICO and willfully and with

     actual knowledge of predicate acts under RICO, as fully detailed in this complaint, upon

     Plaintiff, are directly related to the injuries sustained by Plaintiff.

                     164.       The evidence of Defendants, individually, collectively, and through

     business entities, shows a continuity of the RICO activity of the Defendants, individually,

     collectively, and through business entities established by Defendant Andrew Greenbaum and

     Defendant Steve Michael.

                     165.       There is a continued threat of a continuity of the RICO activity of the

     Defendants, individually, collectively, and through business entities established by Defendant

     Andrew Greenbaum and Defendant Steve Michael, as fully set forth in this complaint.

                     166.       The evidence of Defendant Andrew Greenbaum and Defendant Steve

     Michael persuading investors to invest in real estate schemes from approximately 2011 to


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     date, evidence continuity of repeated conduct during a closed period of repeated conduct by

     Defendant Andrew Greenbaum and Defendant Steve Michael.

                    167.   The evidence of Defendant Andrew Greenbaum and Defendant Steve

     Michael continuing to persuade investors to invest in real estate schemes from approximately

     2011 to date, evidences a threat of repeated conduct into the future by Defendant Andrew

     Greenbaum and Defendant Steve Michael.

                    168.   RICO acts, including mail fraud and wire fraud in violation of the

     United States Code, are continuous and have been continuously engaged in by Defendant

     Andrew Greenbaum and Defendant Steve Michael from at least approximately 2011 to date.

                    169.   RICO acts, including mail fraud and wire fraud in violation of the

     United States Code are continuous and have been continuously engaged in by Defendant

     Andrew Greenbaum and Defendant Steve Michael from at least approximately 2011 and to

     continue into the future in order for Defendant Andrew Greenbaum and Defendant Steve

     Michael to continue to obtain funds for their ponzi scheme of taking monies from investors

     of real estate and not delivering what was promised, including but limited to money making

     projects and completed projects, capable of generating revenue through rentals and/or sales.

                    170.   The relationship between the action of Defendant Andrew Greenbaum

     and Defendant Steve Michael are directly related to predicate acts under RICO.

                    171.   The relationship between the action of Defendant Andrew Greenbaum

     is directly related to predicate acts under RICO including mail fraud and wire fraud in

     violation of the United States Code.




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                    172.   The relationship between the action of Defendant Steve Michael is

     directly related to predicate acts under RICO including mail fraud and wire fraud in violation

     of the United States Code.

                    173.   As set forth in this complaint, Plaintiff demonstrates continuity of

     RICO conduct by Defendants by proving a series of related predicates extending over a

     substantial period of time, which is evidenced by lawsuits filed against Defendant Andrew

     Greenbaum and Defendant Steve Michael throughout the United States of America for

     similar conduct, all of which are predicate acts under RICO and which violate specific federal

     laws, which are considered as predicate acts under RICO as fully set forth in this complaint.

                    174.   The predicate acts as set forth in this complaint are related by having

     the same or similar purposes to defraud investors of invested monies.

                    175.   The predicate acts as set forth in this complaint are related by having

     the same or similar purposes to defraud investors of invested monies with results of

     individuals and/or business entities losing monies which were invested with, directly and

     indirectly, Defendant Andrew Greenbaum and Defendant Steve Michael.

                    176.   Defendant Andrew Greenbaum and Defendant Steve Michael used the

     same methods that they used with Plaintiff and Plaintiff’s representatives in order to commit

     crimes of wire fraud and mail fraud with other individuals and business entities whom

     Defendant Andrew Greenbaum and Defendant Steve Michael solicited for investments.

                    177.   The predicate acts, as set forth in this complaint, extend over a period

     of years and there is valid reason to believe that based on Defendant Andrew Greenbaum and

     Defendant Steve Michael’s past conduct, there is a genuine threat for the continuation of

     future criminal conduct by Defendant Andrew Greenbaum and Defendant Steve Michael.


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                      178.   Defendant Andrew Greenbaum and Defendant Steve Michael’s past

     conduct and present conduct evidence long term criminal conduct by Defendant Andrew

     Greenbaum and Defendant Steve Michael.

                      179.   The United States Congress passed the RICO laws to protect Plaintiff

     and other similarly situated individuals and entities from long term criminal conduct of the

     nature alleged herein against Defendant Andrew Greenbaum and Defendant Steve Michael.

                      180.   This action is commenced after years of criminal conduct by

     Defendant Andrew Greenbaum and Defendant Steve Michael, damaging innocent victims,

     including but not limited to Plaintiff and the Plaintiffs in other actions referred to at length in

     this action.

                      181.   Plaintiff herein demonstrates a series of related predicate acts under

     RICO which Defendants engaged in over a substantial period of time, to wit: numerous years

     including but not limited to approximately 2011 through the present date.

                      182.   The closed ended continuity under RICO that Defendant Andrew

     Greenbaum and Defendant Steve Michael existed for over one year of time.

                      183.   The schemes used by Defendant Andrew Greenbaum and Defendant

     Steve Michael to violate RICO and to engage in the predicate acts under RICO were multiple

     schemes, effecting multiple individuals and entities in multiple business transactions and real

     estate transactions throughout the United States of America.

                      184.   The schemes used by Defendant Andrew Greenbaum and Defendant

     Steve Michael to violate RICO and to engage in the predicate acts under RICO were multiple

     schemes for many different real estate projects with various individuals and entities unrelated

     to each other.


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                    185.    There is evidence that Defendant Andrew Greenbaum and Defendant

     Steve Michael used a similar pre-organized and well established pattern of many schemes

     against various individuals and entities unrelated to each other, for business transactions and

     real estate transactions throughout the United States of America, which resulted in Defendant

     Andrew Greenbaum and Defendant Steve Michael violating federal laws which are, as

     precisely set forth, predicate acts under RICO, as fully detailed in this complaint.

                    186.    There was not one scheme used by Defendant Andrew Greenbaum and

     Defendant Steve Michael to injure victims of Defendant Andrew Greenbaum and Defendant

     Steve Michael under RICO, but rather many different schemes, against many individuals and

     entities causing similar harm to the victims, which common injury was the loss of money by

     the victims and the personal enrichment by Defendant Andrew Greenbaum and Defendant

     Steve Michael by taking monies from individual victims and/or entity victims, however, all

     resulting in money being given and taken by Defendant Andrew Greenbaum and Defendant

     Steve Michael from the victims under violations of RICO.

                    187.    There is evidence that the injuries to victims are continuing and that

     Defendant Andrew Greenbaum and Defendant Steve Michael are continuing to engage in the

     same pre-organized and well established pattern of many different schemes against newly

     sought individuals and entities to act as investors for proposed business transactions and real

     estate transactions which will harm future investors in the same manner as Plaintiff has been

     harmed and other similarly situated investors who invested money with Defendants based on

     the repeated pattern of actions by Defendant Andrew Greenbaum and Defendant Steve

     Michael to induce individuals and entities to invest money with Defendant Andrew

     Greenbaum and Defendant Steve Michael.


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                    188.   The actions of Defendant Andrew Greenbaum and Defendant Steve

     Michael in conducting business as was done with Plaintiff and inducing individuals and

     entities to invest in real properties and/or business entities with Defendant Andrew

     Greenbaum and Defendant Steve Michael is part of Defendant Andrew Greenbaum and

     Defendant Steve Michael’s the regular and ordinary way of doing business.

                    189.   Defendant Andrew Greenbaum and Defendant Steve Michael’s regular

     and ordinary way of doing business is to induce investors to invest money with Defendant

     Andrew Greenbaum and Defendant Steve Michael in business entities or real properties, and

     for Defendant Andrew Greenbaum and Defendant Steve Michael to directly and through their

     business entities, take money from investors and then not complete real estate projects and/or

     not complete the projects that Defendant Andrew Greenbaum and Defendant Steve Michael

     promised to complete, leaving investors, which in this case, throughout the United States, left

     with losses of money amounting to many millions of dollars of losses.

                    190.   While investors who have invested with Defendant Andrew

     Greenbaum and Defendant Steve Michael have lost at a minimum, tens of millions of dollars,

     Defendant Andrew Greenbaum and Defendant Steve Michael have enriched themselves and

     used monies paid by investors to live a lifestyle of spending monies on personal items only

     available with the monies that Defendant Andrew Greenbaum and Defendant Steve Michael

     obtained through their criminal conduct.

                    191.   There is sufficient reason to believe that the past criminal conduct of

     Defendant Andrew Greenbaum and Defendant Steve Michael will continue into the future

     and be repeated into the future by Defendant Andrew Greenbaum and Defendant Steve

     Michael, causing harm to other unsuspecting individuals and entities, who will suffer


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     monetary losses at the hands of Defendant Andrew Greenbaum and Defendant Steve

     Michael.

                   192.    The regular way that Defendant Andrew Greenbaum and Defendant

     Steve Michael conduct their business is to solicit money from investors and then take that

     money for their personal use and not delivering the real property, business property and

     investment returns and return of investment, as Defendant Andrew Greenbaum and

     Defendant Steve Michael had promised the investors.

                   193.    It is evident that if the pattern of business that Defendant Andrew

     Greenbaum and Defendant Steve Michael conduct is not stopped, then the regular way that

     Defendant Andrew Greenbaum and Defendant Steve Michael conduct their business will

     continue into the future and they will continue to solicit money from investors and then take

     that money for their personal use and not deliver the real property, business property and

     investment returns and return of investment as Defendant Andrew Greenbaum and Defendant

     Steve Michael promise investors.

                   194.    Plaintiff was injured by the investment of racketeering income by

     Defendant Andrew Greenbaum and Defendant Steve Michael.

                   195.    Plaintiff was injured by the interest in and control over a racketeering

     enterprise by Defendant Andrew Greenbaum and Defendant Steve Michael.

                   196.    Defendant Andrew Greenbaum and Defendant Steve Michael

     committed mail fraud, an act which is indictable under 18 U.S.C. §1341 by sending

     documents and causing to be sent documents through the U.S. mail in furtherance of the

     fraudulent schemes.




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                    197.    Defendant Andrew Greenbaum and Defendant Steve Michael

     committed wire fraud, an act which is indictable under 18 U.S.C. §1343, relating to wire

     fraud, by causing Plaintiff to wire transfer funds in interstate commerce that were, directly

     and/or indirectly, diverted and converted by defendants. Moreover, information concerning

     these fraudulent transactions was sent by electronic transmission through interstate commerce

     via emails and through telephonic communications.

                    198.    But for the mail fraud and wire fraud committed by Defendants,

     Plaintiff would not have been injured.

                    199.    Defendant Andrew Greenbaum and Defendant Steve Michael have

     violated 18 U.S.C. §1962(c) because they have caused Defendant HH Gulfstream LLC to be

     engaged in the conduct of an enterprise through a pattern of racketeering activity.

                    200.    Defendant Andrew Greenbaum and Defendant Steve Michael are

     persons within the meaning of 18 U.S.C. §1961(3).

                    201.    Defendant HH Gulfstream LLC is a person within the meaning of 18

     U.S.C. §1961(3).

                    202.    Defendant HH Gulfstream LLC is and was an enterprise consisting of

     Defendant Andrew Greenbaum and Defendant Steve Michael.

                    203.    Defendant Andrew Greenbaum and Defendant Steve Michael are

     culpable individuals, responsible for the actions of Defendant HH Gulfstream LLC operating

     as a racketeering enterprise along with an unincorporated association in fact.

                    204.    Defendant Andrew Greenbaum, Defendant Steve Michael and

     Defendant HH Gulfstream LLC were part of an association-in-fact that engaged in the




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     business of soliciting investors to invest in real estate and/or business entities affecting

     interstate commerce.

                    205.    Defendant Andrew Greenbaum and Defendant Steve Michael were

     part of an association-in-fact that engaged in the business of soliciting investors to invest in

     real estate and/or business entities affecting interstate commerce.

                    206.    The association-in-fact by Defendant Andrew Greenbaum and

     Defendant Steve Michael was for the primary purpose of defrauding Plaintiff and others

     including other investors and federal and state financial institutions through a series of real

     estate transactions and business transactions.

                    207.    Defendant Andrew Greenbaum and Defendant Steve Michael worked

     together as members of the association-in-fact to achieve the association’s purpose of

     defrauding Plaintiff and others including other investors and federal and state financial

     institutions through a series of real estate transactions and business transactions.

                    208.    Defendant Andrew Greenbaum and Defendant Steve Michael received

     monetary benefits through the work of the Enterprise and association-in-fact.

                    209.    Defendant Andrew Greenbaum and Defendant Steve Michael each

     managed or participated in the conduct of the enterprise.

                    210.    The association-in-fact of Defendant Andrew Greenbaum and

     Defendant Steve Michael has been operating for numerous years to allow Defendant Andrew

     Greenbaum and Defendant Steve Michael to pursue their fraudulent schemes and Defendant

     Andrew Greenbaum and Defendant Steve Michael are continuing to operate the association

     and enterprise to cause harm to others while enriching themselves. The association-in-fact

     constitutes an enterprise under 18 U.S.C. §1961.


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                      211.   Defendant Andrew Greenbaum and Defendant Steve Michael are each

     a culpable person who conducted an enterprise affecting interstate commerce through a

     pattern of racketeering activity.

                      212.   Defendant Andrew Greenbaum and Defendant Steve Michael are each

     a person capable of holding a legal or beneficial interest in property.

                      213.   Plaintiff was injured by Defendant Andrew Greenbaum and Defendant

     Steve Michael by Defendant Andrew Greenbaum and Defendant Steve Michael’s violation of

     18 USC §1961 et.seq.

                      214.   Defendant Andrew Greenbaum and Defendant Steve Michael

     participated with each other and others associated in fact although not a legal entity (the

     “Enterprise”).

                      215.   The activity of the Enterprise affected interstate commerce because it

     involved the electronic transmission of funds in interstate commerce.

                      216.   The predicate acts alleged in this complaint of the Enterprise affected

     interstate commerce because of the acts of Defendant Andrew Greenbaum and Defendant

     Steve Michael.

                      217.   The enterprise’s activities constitute a pattern because Defendant

     Andrew Greenbaum and Defendant Steve Michael’s actions had the same purpose, types of

     victims and methods of commission, which was to defraud Plaintiff and others including

     other investors and financial institutions through fraudulent acts in obtaining ownership in

     real properties and/or entities owning real properties. Further, the Enterprise’s pattern of

     fraudulent activity has continued for a period of more than two years and is ongoing.




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                     218.    Defendant Andrew Greenbaum and Defendant Steve Michael’s acts

     constitute racketeering within the meaning of 18 U.S.C. § 1961(1)(B) because they include

     bank fraud, wire fraud and mail fraud.

                     219.    Defendants have violated 18 U.S.C. § 1341 by using the United States

     mails to cause injury to Plaintiff.

                     220.    Defendants willfully violated 18 U.S.C. § 1341 by using the United

     States mails to cause injury to Plaintiff.

                     221.    Defendants with actual knowledge violated 18 U.S.C. § 1341 by using

     the United States mails to cause injury to Plaintiff.

                     222.    Defendants have violated 18 U.S.C. § 1343 by using wire

     communications to cause injury to Plaintiff.

                     223.    Defendants willfully violated 18 U.S.C. § 1343 by using wire

     communications to cause injury to Plaintiff.

                     224.    Defendants with actual knowledge violated 18 U.S.C. § 1343 by using

     wire communications to cause injury to Plaintiff.

                     225.    Defendant Andrew Greenbaum and Defendant Steve Michael’s

     conduct has injured and damaged Plaintiff in numerous ways, including that Plaintiff’s funds

     and real properties and membership interests in limited liability companies have been

     unlawfully taken from Plaintiff by Defendant Andrew Greenbaum and Defendant Steve

     Michael. Plaintiff also has incurred attorneys’ fees to seek relief from these injuries. Finally,

     defendants’ conduct has harmed the general public and threatens continued harm.

                     226.    Plaintiff is a “person” as defined in 18 U.S.C. §1961(3) and 1962(c).




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                    227.    Defendant Andrew Greenbaum and Defendant Steve Michael are each

     a “person” as defined in 18 U.S.C. §1961(3) and 1962(c).

                    228.    Defendant Andrew Greenbaum and Defendant Steve Michael used

     income derived from a pattern of racketeering activity within the United States to further the

     Enterprise.

                    229.    Defendant Andrew Greenbaum and Defendant Steve Michael were

     employed by and/or associated with an enterprise to conduct or participate, directly or

     indirectly, in the conduct of the enterprise’s affairs through a pattern of racketeering activity.

                    230.    Defendant Andrew Greenbaum was and is a member of the Enterprise.

                    231.    Defendant Steve Michael was and is a member of the Enterprise.

                    232.    Defendant Andrew Greenbaum participated in the operation of the

     Enterprise.

                    233.    Defendant Steve Michael participated in the operation of the

     Enterprise.

                    234.    Defendant Andrew Greenbaum participated in the management of the

     Enterprise.

                    235.    Defendant Steve Michael participated in the management of the

     Enterprise.

                    236.    At all times relevant to this complaint, Defendant Andrew Greenbaum

     and Defendant Steve Michael constituted an enterprise within the meaning of 18 U.S.C.

     §1961(4) in he was and is an individual.

                    237.    At all times relevant to this complaint, Defendant Andrew Greenbaum

     and Defendant Steve Michael and engaged in a pattern of racketeering.


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                     238.   The purpose of the Enterprise was to generate money for Defendant

     Andrew Greenbaum and Defendant Steve Michael through the solicitation of individuals and

     business entities to invest in real estate and/or in business entities and to guaranty bank loans.

                     239.   Defendant Andrew Greenbaum and Defendant Steve Michael were and

     are associates in the racketeering enterprise.

                     240.   The purpose of the racketeering enterprise was implemented by the

     Enterprise’s associates through various legal activities.

                     241.   Each of the associates of the Enterprise had relationships with the

     other associates of the Enterprise.

                     242.   The Enterprise and its activities continued from at least 2013 to the

     present date.

                     243.   At all times relevant to this complaint, Defendant Andrew Greenbaum

     and Defendant Steve Michael have been “enterprises” within the meaning of 18 U.S.C.

     §1961(4).

                     244.   The enterprise operated in the Southern District of Florida.

                     245.   Defendant Andrew Greenbaum and Defendant Steve Michael used

     telephone communications between the State of Florida and other states in the United States

     to further their criminal activity and the Enterprise.

                     246.   Plaintiff transmitted federal funds, wired from the State of Florida to

     other states within the United States.

                     247.   Defendant Andrew Greenbaum and Defendant Steve Michael

     transmitted United States Currency from Florida to other states within the United States via

     wire or via United States Mails.


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                    248.       Defendant Andrew Greenbaum and Defendant Steve Michael

     communicated with one or more of each other and with Plaintiff’s agents and representatives

     via cellular communications in interstate commerce.

                    249.       Defendant Andrew Greenbaum and Defendant Steve Michael used the

     United States Mails to communicate with each other and with Plaintiff’s agents and

     representatives to further the Enterprise.

                    250.       Defendant Andrew Greenbaum and Defendant Steve Michael used the

     internet to communicate with each other and with Plaintiff’s agents and representatives to

     further the Enterprise.

                    251.       Defendant Andrew Greenbaum and Defendant Steve Michael

     constituted an ongoing organization whose members and associates functioned as a

     continuing unit for many years, with the common purpose of receiving income from Plaintiff

     and other investors for the promises to Plaintiff and investors to make money by investing

     with Defendant Andrew Greenbaum and Defendant Steve Michael.

                    252.       The principal purpose of the Enterprise was for Defendant Andrew

     Greenbaum and Defendant Steve Michael to profit from the invested funds made by Plaintiff

     and other investors into entities established by or at the direction of Defendant Andrew

     Greenbaum and Defendant Steve Michael.

                    253.       Defendant   Andrew   Greenbaum,    as   an   Enterprise   associate

     implemented this purpose through various legal activities, but principally through the

     purchase, sale of and/or mortgaging of real property in the State of Florida through business

     entities.




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                    254.     Defendant Steve Michael, as an Enterprise associate implemented this

     purpose through various legal activities, but principally through the purchase, sale of and/or

     mortgaging of real property in the State of Florida through business entities.

                    255.     Defendant HH Gulfstream LLC, as an Enterprise associate

     implemented this purpose through various legal activities, but principally through the

     purchase, sale of and/or mortgaging of real property in the State of Florida through business

     entities.

                    256.     The Enterprise Associates implemented this purpose through various

     illegal activities, but principally through the purchase, sale of and/or mortgaging of real

     property in the State of Florida.

                    257.     At all times relevant to this complaint, the affairs of the Enterprise

     have been conducted through a pattern of racketeering activity within the meaning of 18

     U.S.C. §1961(B).

                    258.     Defendants conspired to commit acts, to wit: purchase, sell and/or

     mortgaging of real property in the State of Florida and in other states of the United States to

     deprive Plaintiff from the profits from such activities.

                    259.     Defendants all agreed to join in, and knowingly participated in, a

     conspiracy to purchase, sell and/or mortgaging of real property in the State of Florida and in

     other states of the United States and to deprive Plaintiff and other investors from the profits

     from such activities.

                    260.     Defendant Andrew Greenbaum and Defendant Steve Michael

     purchased real properties through legal entities in the State of Florida.




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                    261.   Defendant Andrew Greenbaum acted in furtherance of the conspiracy

     by acting as a member and/or as a manager of various limited liability companies and by

     managing the day to day affairs of the Enterprise.

                    262.   Defendant Steve Michael acted in furtherance of the conspiracy by

     acting as a member and/or as a manager of various limited liability companies and by

     managing the day to day affairs of the Enterprise.

                    263.   Plaintiff has suffered injury to its business and property within the

     meaning of 18 U.S.C. §1964(c) by reason of Defendants’ violation of 18 U.S.C. §1962(c), in

     an amount to be determined at trial, but anticipated to be no less than $6,000,000.

                    264.   Plaintiff has suffered injury to its business which resulted from the

     conduct complained of herein by Defendants.

                    265.   Plaintiff has suffered injury to its property which resulted from the

     conduct complained of herein by Defendants.

                    266.   Plaintiff is entitled to treble damages, costs and attorney’s fees

     pursuant to 18 USC 1964(c) as a result of Defendants’ violation of 18 USC 1962.

                    267.   By reason of the foregoing, Plaintiff has been damaged and demands

     judgment against Defendant Andrew Greenbaum who acted in furtherance of the conspiracy

     by acting as a member and/or as a manager of various limited liability companies and by

     managing the day to day affairs of the Enterprise.

                    268.   By reason of the foregoing, Plaintiff has been damaged and demands

     judgment against Defendant Steve Michael who acted in furtherance of the conspiracy by

     acting as a member and/or as a manager of various limited liability companies and by

     managing the day to day affairs of the Enterprise.


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                    269.    Defendant Andrew Greenbaum and Defendant Steve Michael made

     statements to Plaintiff and to Plaintiff’s representatives regarding investing in entities to

     acquire ownership of the Gulfstream Hotel.

                    270.    Defendant Andrew Greenbaum and Defendant Steve Michael knew at

     the time that they made statements to Plaintiff and to Plaintiff’s representatives regarding

     investing in entities to acquire ownership of the Gulfstream Hotel that the statements that

     Plaintiff and/or its affilates would receive a return on its investment was false.

                    271.    Defendant Andrew Greenbaum and Defendant Steve Michael knew at

     the time that they made statements to Plaintiff and to Plaintiff’s representatives regarding

     investing in entities to acquire ownership of the Gulfstream Hotel that the statements that

     Plaintiff and/or its affilates would not have to pay Florida Community Bank, N.A. on the

     guaranty provided by Plaintiff and/or its affilates was false.

                    272.    Defendant Andrew Greenbaum and Defendant Steve Michael knew at

     the time that they made statements to Plaintiff and to Plaintiff’s representatives regarding

     investing in entities to acquire ownership of the Gulfstream Hotel that the statements that

     Defendant Andrew Greenbaum and Defendant Steve Michael would manage the renovation

     of the Gulfstream Hotel was false.

                    273.    Plaintiff was injured due to the false material statements that were

     made by Defendant Andrew Greenbaum and Defendant Steve Michael, which induced

     Plaintiff and/or its affiliates to invest in the purchase of the Gulfstream Hotel.

                    274.    Plaintiff and Plaintiff’s representatives believed and had justifiable

     confidence in the false material statements that were made by Defendant Andrew Greenbaum




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     and Defendant Steve Michael, which induced Plaintiff and/or its affiliates to invest in the

     purchase of the Gulfstream Hotel.

                      275.   Defendant Andrew Greenbaum and Defendant Steve Michael never

     intended to make required capital contributions for the investment in the Gulfstream Hotel

     and never intended to contribute anything of value to Plaintiff, to HH Gulfstream Land

     Holdings, LLC and intended to defraud Plaintiff and its affiliates.

            WHEREFORE, Plaintiff requests that this Court enter judgment against Defendant

     Andrew Greenbaum and Defendant Steve Michael for fraud in an amount to be determined at

     trial, but anticipated to be no less than $6,000,000, plus treble damages, plus interest, costs,

     disbursements and attorney’s fees.

        COUNT II – VIOLATIONS OF RACKETEERING INFLUENCED CORRUPT
       ORGANIZATIONS ACT - TITLE 18 OF THE UNITED STATES CODE §1961(c),
                                   ET.SEQ.

                      276.   The allegations set forth in paragraphs “1” through “96” and paragraph

     “98 through “275” above are re-alleged as if fully set forth herein.

                      277.   This Count is against Defendant Andrew Greenbaum and Defendant

     Steve Michael.

                      278.   Defendant HH Gulfstream LLC is an enterprise engaged in and whose

     activities affect interstate commerce.

                      279.   Defendant Hudson Holdings LLC is an enterprise engaged in and

     whose activities affect interstate commerce.

                      280.   Defendant Andrew Greenbaum is employed by or associated with the

     enterprise.




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                    281.    Defendant Steve Michael is employed by or associated with the

     enterprise.

                    282.    Defendant Andrew Greenbaum agreed to and did conduct and

     participate in conduct of the enterprises’s affairs through a pattern of racketeering activity and

     for the unlawful purpose of intentionally defrauding Plaintiff.

                    283.    Defendant Steve Michael agreed to and did conduct and participate in

     conduct of the enterprises’s affairs through a pattern of racketeering activity and for the

     unlawful purpose of intentionally defrauding Plaintiff.

                    284.    Pursaunt to and in furtherance of their fraudulent scheme, Defendants

     committed multiple related acts of mail fraud and wire fraud.

                    285.    The acts of mail fraud and wire fraud set forth above constitute a

     pattern of racketeering activity pursuant to 18 U.S.C. § 1961(5).

                    286.    Defendant Andrew Greenbaum has directly and indirectly conducted

     and participated in the conduct of the enterprise’s affairs through the pattern of racketeering

     and activity described above, in violation of 18 U.S.C. § 1962(c).

                    287.    Defendant Steve Michael has directly and indirectly conducted and

     participated in the conduct of the enterprise’s affairs through the pattern of racketeering and

     activity described above, in violation of 18 U.S.C. § 1962(c).

                    288.    As a direct and proximate result of Defendant Andrew Greenbaum’s

     racketeering activities and violations of 18 U.S.C. § 1962(c), Plaintiff has been injured in

     their business and property in that Plaintiff has lost monies that it invested in HHG Land

     Holdings LLC.




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            WHEREFORE, Plaintiff requests that this Court enter judgment against Defendant

     Andrew Greenbaum and Defendant Steve Michael for violations of 18 USC 1961, et.seq. –

     the Civil Racketeering Influenced Corrupt Organizations Act in an amount to be determined

     at trial, but anticipated to be no less than $6,000,000, plus treble damages, plus interest, costs,

     disbursements and attorney’s fees plus all available remedies under 18 USC 1961, et.seq.

                                    COUNT III
                        PURSUANT TO RELIEF UNDER
       CIVIL RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT,
                      18 U.S.C. §1961(a), ET. SEQ. (“RICO”)
                  AGAINST DEFENDANT HH GULFSTREAM LLC

                    289.    The allegations set forth in paragraphs “1” through “96” and paragraph

     “98 through “275” above are re-alleged as if fully set forth herein.

                    290.    This Count is against Defendant HH Gulfstream LLC for violations of

     18 U.S.C. § 1962(a).

                    291.    Defendant HH Gulfstream LLC is an enterprise engaged in and whose

     activities affect interstate commerce.

                    292.    Defendant HH Gulfstream LLC used and invested income that was

     derived from a pattern of racketeering activity in an interstate enterprise.

                    293.    Defendant HH Gulfstream LLC used and invested income that was

     derived from a pattern of racketeering activity by Defendant Andrew Greenbaum and

     Defendant Steve Michael in an interstate enterprise.

                    294.    The acts of mail fraud and wire fraud set forth above constitute a

     pattern of racketeering activity pursuant to 18 U.S.C. § 1961(5).

                    295.    As a direct and proximate result of Defendant HH Gulfstream LLC’s

     racketeering activities and violations of 18 U.S.C. § 1962(a), Plaintiff has been injured in


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     their business and property in that Plaintiff has lost monies that it invested in HHG Land

     Holdings LLC.

            WHEREFORE, Plaintiff requests that this Court enter judgment against Defendant

     HH Gulfstream LLC for violations of 18 USC 1961, et.seq. – the Civil Racketeering

     Influenced Corrupt Organizations Act in an amount to be determined at trial, but anticipated

     to be no less than $6,000,000, plus treble damages, plus interest, costs, disbursements and

     attorney’s fees plus all available remedies under 18 USC 1961, et.seq.

                                    COUNT IV
                        PURSUANT TO RELIEF UNDER
       CIVIL RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT,
                      18 U.S.C. §1961(b), ET. SEQ. (“RICO”)
                 AGAINST DEFENDANTS ANDREW GREENBAUM
                     AND DEFENDANT STEVE MICHAEL

                    296.    The allegations set forth in paragraphs “1” through “96” and paragraph

     “98 through “275” above are re-alleged as if fully set forth herein.

                    297.    This Count is against Defendant Defendant Andrew Greenbaum and

     Defendant Steve Michael for violations of 18 U.S.C. § 1962(b).

                    298.    Defendant HH Gulfstream LLC is an enterprise engaged in and whose

     activities affect interstate commerce.

                    299.    Defendant Hudson Holdings LLC is an enterprise engaged in and

     whose activities affect interstate commerce.

                    300.    Defendant Andrew Greenbaum and Defendant Steve Michael acquired

     and maintained interests in and control of the enterprise through a pattern of racketeering

     activity. Specifically, Defendant Andrew Greenbaum and Defendant Steve Michael caused

     numerous entities which they formed in order to solicit and obtain funds from investors for




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     the purpose of defrauding the investors and using the funds for their own personal benefit and

     living expenses.

                    301.    The soliciting of and obtaining of funds from investors for the purpose

     of defrauding the investors and using the funds for their own personal benefit and living

     expenses through the use of United States Mail and wire through email and telephonic

     communications constitutes a pattern of racketeering activity pursuant to 18 U.S.C. §

     1961(5).

                    302.    The acts of mail fraud and wire fraud set forth above constitute a

     pattern of racketeering activity pursuant to 18 U.S.C. § 1961(5).

                    303.    Defendant Andrew Greenbaum and Defendant Steve Michael have

     directly and indirectly acquired and maintained interests in and control of the enterprise

     thorugh a pattern of racketeering activity described above, in violation of 18 U.S.C. §

     1962(b).

                    304.    As a direct and proximate result of Defendant Andrew Greenbaum and

     Defendant Steve Michael’s racketeering activities and violations of 18 U.S.C. § 1962(b),

     Plaintiff has been injured in their business and property in that Plaintiff was compelled to use

     its own funds and funds of its affilates in order to avoid defaulting on a guaranty provided by

     Plaintiff and/or Plaintiff’s affiliates to Florida Community Bank, N.A.

            WHEREFORE, Plaintiff requests that this Court enter judgment against Defendant

     HH Gulfstream LLC for violations of 18 USC 1961(b) in an amount to be determined at trial,

     but anticipated to be no less than $6,000,000, plus treble damages, plus interest, costs,

     disbursements and attorney’s fees plus all available remedies under 18 USC 1961, et.seq.




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                                    COUNT V
                        PURSUANT TO RELIEF UNDER
       CIVIL RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT,
                      18 U.S.C. §1961(d), ET. SEQ. (“RICO”)
                 AGAINST DEFENDANTS ANDREW GREENBAUM
                     AND DEFENDANT STEVE MICHAEL

                    305.      The allegations set forth in paragraphs “1” through “96” and paragraph

     “98 through “275” above are re-alleged as if fully set forth herein.

                    306.      This Count is against Defendant Defendant Andrew Greenbaum and

     Defendant Steve Michael for violations of 18 U.S.C. § 1962(d).

                    307.      Defendant Andrew Greenbaum and Defendant Steve Michael agreed

     and conspired to violate 18 U.S.C. § 1962(a), 18 U.S.C. § 1962(b) and 18 U.S.C. § 1962(c).

     Specifically, Defendant Andrew Greenbaum and Defendant Steve Michael conspired to use

     or invest income that they derived from a pattern of racketeering activity in an interstate

     enterprise by creating entities to acquire real estate in Florida, Missouri and other States for

     the purpose of enriching themselves and defrauding investors and causing investors and

     lenders to lose money.

                    308.      Defendant Andrew Greenbaum and Defendant Steve Michael agreed

     and conspired to violate 18 U.S.C. § 1962(a), 18 U.S.C. § 1962(b) and 18 U.S.C. § 1962(c).

     Specifically, Defendant Andrew Greenbaum and Defendant Steve Michael conspired to

     acquire and maintain interests in the racketeering enterprise through a pattern of racketeering

     activity, using and violating United States statutes, including 18 U.S.C. § 1341 for mail fraud

     and 18 U.S.C. § 1343 for wire fraud over a number of years.

                    309.      Defendant Andrew Greenbaum and Defendant Steve Michael agreed

     and conspired to violate 18 U.S.C. § 1962(a), 18 U.S.C. § 1962(b) and 18 U.S.C. § 1962(c).




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     Specifically, Defendant Andrew Greenbaum and Defendant Steve Michael conspired to

     conduct and participate in the conduct of the affairs of the racketeering enterprise thorugh a

     pattern of racketeering activity.

                    310.    Defendant Andrew Greenbaum and Defendant Steve Michael have

     intentionally conspired and agreed to directly and indirectly use or invest income that is

     derived from a pattern of racketeering activity in an interstate enterprise, acquire or maintain

     interests in the racketeering enterprise through a pattern of racketeering activity, and conduct

     and participate in the conduct of the affairs of the racketeering enterprise through a pattern of

     racketeering activity. Defendant Andrew Greenbaum and Defendant Steve Michael knew that

     their predicate acts were part of a pattern of racketeering activity and agreed to the

     commission of those acts to further the schemes described above. That conduct constitutes a

     conspiracy to violate 18 U.S.C. § 1962(a), 18 U.S.C. § 1962(b) and 18 U.S.C. § 1962(c) in

     violation of 18 U.S.C. § 1962(d).

                    311.    As a direct and proximate result of Defendant Andrew Greenbaum and

     Defendant Steve Michael’s conspiracy, the overt acts taken in furtherance of that conspiracy,

     and violations of 18 U.S.C. § 1962(d), Plaintiff has been injured in their business and

     property in that Plaintiff has lost its investment in HH Gulfstream Land Holdings, LLC as the

     value of the Real Property has decreased and Plaintiff was compelled to use its own funds

     and funds of its affilates in order to avoid defaulting on a guaranty provided by Plaintiff

     and/or Plaintiff’s affiliates to Florida Community Bank, N.A.               Defendant Andrew

     Greenbaum and Defendant Steve Michael used mail fraud, wire fraud and common law fraud

     to commit and further the conspiracy.




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               WHEREFORE, Plaintiff requests that this Court enter judgment against Defendant

     HH Gulfstream LLC for violations of 18 USC 1961(d) in an amount to be determined at trial,

     but anticipated to be no less than $6,000,000, plus treble damages, plus interest, costs,

     disbursements and attorney’s fees plus all available remedies under 18 USC 1961, et.seq.

                                   COUNT VI
        FOR CIVIL RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS
           ACT, FLA. STAT. §4:170 (“RICO”) AGAINST DEFENDANT ANDREW
          GREENBAUM, DEFENDANT STEVE MICHAEL AND DEFENDANT HH
                                 GULFSTREAM LLC

                     312.   The allegations set forth in paragraphs “1” through “96” and paragraph

     “98 through “275” above are re-alleged as if fully set forth herein.

                     313.   Defendant Andrew Greenbaum violated 18 U.S.C. §1962 et.seq.

                     314.   Defendant Steve Michael violated 18 U.S.C. §1962 et.seq.

                     315.   Defendant HH Gulfstream LLC violated 18 U.S.C. §1962 et.seq.

                     316.   Plaintiff suffered injury to their business interests located in the United

     States.

                     317.   Plaintiff suffered injury to their personal property located in the United

     States, to wit: membership interests in HH Gulfstream Land Holdings, LLC.

                     318.   Plaintiff suffered injury to its limited liability company interests.

                     319.   Plaintiff suffered injury to its indirect real property interests in the Real

     Property.

                     320.   The violation by Defendant Andrew Greenbaum of 18 U.S.C. §1962

     et.seq. caused the injuries sustained by Plaintiff.

                     321.   The violation by Defendant Steve Michael of 18 U.S.C. §1962 et.seq.

     caused the injuries sustained by Plaintiff.


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                    322.    The violation by Defendant HH Gulfstream LLC of 18 U.S.C. §1962

     et.seq. caused the injuries sustained by Plaintiff.

            WHEREFORE, Plaintiff requests that this Court enter judgment against Defendant

     Andrew Greenbaum, Defendant Steve Michael and Defendant HH Gulfstream LLC for

     violations of Fla. Stat. §4:170 – the Florida Civil Racketeering Influenced Corrupt

     Organizations Act in an amount to be determined at trial, but anticipated to be no less than

     $6,000,000, plus treble damages, plus interest, costs, disbursements and attorney’s fees plus

     all available remedies under Fla. Stat. §4:170, et.seq.

     Dated this March 25, 2018

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     CASE NO. ______-CV-____________
     UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF FLORIDA


     CDS Gulfstream, LLC
     individually and as a class on behalf of
     other similarly situated individuals and business entities
     that were induced by Defendant Andrew Greenbaum
     a/k/a Avi Greenbaum and Defendant Steve Michael
     a/k/a Steven Michael into investing monies in entities
     for real estate investments from and after March 27, 2014.

                           Plaintiff,

            - against -

     Andrew Greenbaum a/k/a Avi Greenbaum,
     Steve Michael a/k/a Steven Michael
     HH Gulfstream LLC and
     Hudson Holdings LLC

                           Defendants.



                                            COMPLAINT

     SIGNATURE (RULE 11)



     ____________________________
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                                         ROSEN LAW LLC
                               500 Village Square Crossing, Suite 101
                                Palm Beach Gardens, Florida 33410
                                           (561)-899-9999




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